        Case 2:05-cr-00238-MCE Document 229 Filed 07/15/08 Page 1 of 1


                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,        ) No. CRS. 05-238-FCD
                                 )
           Plaintiff,            ) ORDER TO MODIFY CONDITIONS
                                 ) OF PRETRIAL RELEASE
     v.                         )
                                 )
DALE C. SCHAFER and              )
MARION P. FRY,                   )
                                 )
           Defendants.           )
________________________________)


       The Court has received information from the Pretrial Services Agency regarding

an incident between the El Dorado County sheriffs and the defendants in this matter. In

view of the two marijuana plants found on the defendants’ property and information

obtained by officers in subsequent interviews, the Court has ordered the pretrial officer

to admonish the defendants for their conduct and is modifying their conditions of release

as follows:


       There shall be no possession, cultivation, or consumption of any marijuana on or

in your premises at any time by yourselves, any residents of your house, or any guests.


       IT IS SO ORDERED.


Dated: July 14, 2008
                                        ______________________________
                                         FRANK C. DAMRELL, JR.
                                         UNITED STATES DISTRICT JUDGE
